                      Case 22-08487              Doc    Filed 01/20/23           Entered 01/20/23 16:49:23               Desc Main
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Fill in this information to identify the case:

Debtor 1 Rais Uddin

Debtor 2 Bijal A Brahmbhatt
(Spouse, if filing)


United States Bankruptcy Court for the: NORTHERN                    District of ILLINOIS
                                                                               (State)

Case number 22-08487



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtors’ plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtors’
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtors’ principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:               LOANCARE, LLC                                        Court claim no. (if known)        12

Last four digits of any number you                  XXXXXX6072
use to identify the debtors’ account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
   No
   Yes. Date of the last notice:

Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
        Description                                                                        Dates incurred                              Amount

1.      Late charges                                                                                                            (1)    $           0.00
2.      Non-sufficient funds (NSF) fees                                                                                         (2)    $           0.00
3.      Attorney fees                                                                                                           (3)    $           0.00
4.      Filing fees and court costs                                                                                             (4)    $           0.00
5.      Bankruptcy/Proof of claim fees                                                     10/6/2022,                           (5)    $         600.00
6.      Appraisal/Broker's price opinion fees                                                                                   (6)    $           0.00
7.      Property inspection fees                                                                                                (7)    $           0.00
8.      Tax advances (non-escrow)                                                                                               (8)    $           0.00
9.      Insurance advances (non-escrow)                                                                                         (9)    $           0.00

10. Property preservation expenses. Specify:           _____________                                                            (10)   $           0.00
11. Other. Specify:          Plan Review                                                   8/17/2022                            (11)   $        $350.00
12. Other. Specify:          POC 410a History                                              9/20/2022                            (12)   $        $250.00



The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




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Debtor 1        Rais Uddin                                                          Case number (if known)      22-08487
                First Name   Middle Name Last Name



Part 2:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.

 I am the creditor.
 I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

           X     /s/Dana O'Brien                                                                        Date       01/20/2023
                 Signature

Print:           Dana                                                     O'Brien                       Title      Authorized Agent
                 First Name                   Middle Name                 Last Name

Company          McCalla Raymer Leibert Pierce, LLC

Address          1544 Old Alabama Road
                 Number           Street
                 Roswell                              GA                   30076
                 City                                 State                ZIP Code

Contact phone           (312) 346-9088 X5188                                   Email        Dana.OBrien@mccalla.com




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                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS


In re:                                                                   )
                                                                         )      Case No. 22-08487
Rais Uddin                                                               )      Chapter 13
Bijal A Brahmbhatt                                                       )
                                                                         )      JUDGE: DEBORAH L. THORNE


                                                               EXHIBIT B

                                                   ITEMIZATION OF CLAIM
Other                                                                                                                                $350.00

             08/17/2022                                         Review and Analysis of                                   $350.00
                                                                Schedules, Plan, Docket, Loan
                                                                Docs

Other                                                                                                                                $250.00

             09/20/2022                                         Preparation of the POC 410A                              $250.00
                                                                History

Bankruptcy/Proof of Claim Fees                                                                                                       $600.00

             10/06/2022                                         Preparation and Filing of Proof of                       $600.00
                                                                Claim




 TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                                  $1,200.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
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                                                             Bankruptcy Case No.:      22-08487
 In Re:                                                      Chapter:                  13
           Rais Uddin                                        Judge:                    Deborah L. Thorne
           Bijal A Brahmbhatt

                                         CERTIFICATE OF SERVICE

        I, Dana      O'Brien, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell, GA
30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

         That on the date below, I caused to be served a copy of the within NOTICE OF POSTPETITION
MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another manner of
service is expressly indicated:

Rais Uddin
1128 Aimtree Pl
Schaumburg, IL 60194

Bijal A Brahmbhatt
1128 Aimtree Pl
Schaumburg, IL 60194

Mark E Levine                                       (served via ECF Notification)
Geraci Law L.L.C.
55 E. Monroe St. Suite #3400
Chicago, IL 60603

Marilyn O Marshall                                  (served via ECF Notification)
224 South Michigan Ste 800
Chicago, IL 60604

Patrick S Layng                                     (served via ECF Notification)
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:          01/20/2023        By:     /s/Dana O'Brien
                        (date)                  Dana O'Brien
                                                Authorized Agent for LoanCare, LLC
